Case 1:14-cv-01826-ALC Document 2 Filed 03/17/14 Page 1of13

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA, ~ : COMPLAINT :
Plaintiff, \\
V.

RELATED COMPANIES and its subsidiaries and affiliates
d/b/a RELATED and/or RELATED COMPANIES;
TRIBECA GREEN, LLC; BPC GREEN, LLC; ROBERT
A.M. STERN ARCHITECTS, LLP; and ISMAEL LEYVA
ARCHITECTS, P.C.,

 

Defendants.

 

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Plaintiff United States of America (the “United States”) alleges as follows:

1. This action is brought by the United States to enforce the Fair Housing Act, Title
VIII of the Civil Rights Act of 1968, as amended by the Fair Housing Amendments Act of 1988
(the “Fair Housing Act” or the “Act”), 42 U.S.C. §§ 3601-3619, and the Americans with
Disabilities Act (the “ADA”), 42 U.S.C. §§ 12101-12213, its implementing regulation, the ADA
’ Standards for Accessible Design, 28 C.F.R. § 36.401; 28 C.F.R. Pt. 36 Appendix A (1991 ADA
Standards for Accessible Design), as amended at 28 C.F.R. Pt. 36 Appendix D (2010 ADA
Standards for Accessible Design) (hereinafter, the “ADA Standards”). As set forth below, the

United States alleges that Defendants, the developers and architects of numerous residential
Case 1:14-cv-01826-ALC Document 2 Filed 03/17/14 Page 2 of 13

apartment complexes, including the One Carnegie Hill Apartments (“One Carnegie Hill”) and
Tribeca Green Apartments (“Tribeca Green”) in Manhattan, have unlawfully diverimtinated against
persons with disabilities under the Fair Housing Act and the ADA by failing to design and construct
covered multi-family dwellings and associated places of public accommodation, so as to be
accessible to persons with disabilities.

Jurisdiction and Venue

2. This Court hasfurisdiotien aver this action under 28 U.S.C. §§ 1331 and 1345 and
42 U.S.C. §§ 3614(a) and 12188(b)(1)(B).

3. Venue is proper pursuant to 28 U.S.C. § 1391(b) and (c) because one or more of the
defendants are resident in this District, because a substantial part of the events or omissions giving
rise to the claims asserted in this action occurred in this District, and GECanse a substantial number
of the properties that are the subject of this action are located in this District.

The One Carnegie Hill Property

4, One Carnegie Hill is a residential apartment building located at 215 East 96" Street
in New York, New York. The complex consists of a tower with elevator access and contains 475
rental or condominium apartment units and public and common use areas, including a leasing
office, a laundry valet office, indoor and outdoor recreational areas, two common use terraces, a
children’s play room, a business center, a fitness center, a tenants’ club room, and storage areas for
tenants.

5, The rental and condominium units at One Carnegie Hill are “dwellings” within the
meaning of 42 U.S.C. § 3602(b), and “dwelling units” within the meaning of 24 C.F.R. § 100.21.

6. One Carnegie Hill was designed and constructed for first occupancy after March 13,

1991. All of the rental and condominium units are “covered multi-family dwellings” within the
 

Case 1:14-cv-01826-ALC Document 2 Filed 03/17/14 Page 3 of 13

meaning of 42 U.S.C. § 3604(f)(7) and 24 C.F.R. § 100.21. The complex is subject to the
accessibility requirements of 42 U.S.C. § 3604(f)(3)(C) and 24 C.F.R. § 100.205(a), (c).
7. In addition, the leasing office and the main lobby at One Carnegie Hill were
constructed for first occupancy after January 26, 1993, and are places of public accommodation
within the meaning of 42 U.S.C. § 12181(7)(E) and 28 C.F.R. § 36.104. These areas, therefore,
are required to meet the accessibility requirements of the ADA Standards.
The Tribeca Green Property

8. Tribeca Green is a residential apartment building located at 325 North End Avenue
in New York, New York. The complex consists of a tower with elevator access and contains 278
rental apartment units and public and common use areas, including a leasing office, laundry
facilities, a fitness center, a business center, and a children’s play room.

9. The rental units at Tribeca Green are “dwellings” within the meaning of 42 U.S.C.
§ 3602(b), and “dwelling units” within the meaning of 24 C.F.R. § 100.21.

10. Tribeca Green was designed and constructed for first occupancy after March 13,
1991. All of the rental units are “covered multi-family dwellings” within the meaning of 42
U.S.C. § 3604(f)(7) and 24 C.F.R. § 100.21. The complex is subject to the accessibility
requirements of 42 U.S.C. § 3604(f)(3)(C) and 24 C.F.R. § 100.205(a), (c).

11. In addition, the leasing office and the main lobby at Tribeca Green were constructed
for first occupancy after January 26, 1993, and are places of public accommodation within the
meaning of 42 U.S.C. § 12181(7)(E) and 28 C.F.R. § 36.104. These areas, therefore, are required
to meet the accessibility requirements of the ADA Standards.

The Defendants
12. Related Companies is a New York business organization with its headquarters at 60

Columbus Circle in Manhattan. Related Companies, directly and operating through its
 

Case 1:14-cv-01826-ALC Document 2 Filed 03/17/14 Page 4 of 13

subsidiaries and affiliates that do business as Related or Related Companies (collectively,

. “Related”), is the owner and developer of One Carnegie Hill and, in that capacity, participated in
the design and construction of One Carnegie Hill. Related also is the owner and developer of
“Tribeca Green and, in tat capacity, participated in the design and construction of Tribeca Green.

13. Tribeca Green, LLC and BPC Green LLC (together the “Tribeca Owners”), two
Delaware limited liability companies that are affiliates of Related, are the owners of Tribeca Green
and, in that capacity, participated in the design and construction of Tribeca Green.

14. Ismael Levya Architects, P.C. (“Levya Architects”), a New York professional
corporation, drew the architectural plans for One Carnegie Hill and, in that capacity, participated in
the design and construction of the apartment complex. Further, Ismael Levya, the principal of
Ismael Levya Architects, was the architect of record for One Carnegie Hill.

15. Robert A.M. Stern Architects, LLP (“Stern Architects”), a New York professional
corporation, drew the architectural plans for Tribeca Green and, in that capacity, participated in the
design and construction of the apartment complex. Further, Robert A.M. Stern, the principal of
Robert A.M. Stern Architects, LLP, was the architect of record for Tribeca Green.

Inaccessible Features of One Carnegie Hill

16. Related and Levya Architects participated in the design and construction of One
Carnegie Hill, which is inaccessible to persons with disabilities.

17. For instance, One Carnegie Hill was designed and constructed with scores of
inaccessible conditions, including, but not limited to, the following:

a. Reception counter in the main lobby too high to accommodate persons who
use wheelchairs;
b. Sign for the leasing office lacks raised-letter Braille for persons with visual

impairments;
Case 1:14-cv-01826-ALC Document 2 Filed 03/17/14 Page 5 of 13

k.

m.

Excessive force required to operate the entrance door to the leasing office,
Mailboxes mounted too high for persons who use wheelchairs;

Excessively high thresholds at entrances to individual units and at entrances
to individual unit bathrooms and terraces;

Insufficient clear opening width of bedroom, bathroom, terrace, and closet
doors in individual units;

Kitchens in individual units lack sufficient width to accommodate persons
who use wheelchairs;

Kitchen ranges, reftigerators, and sinks in individual units lack sufficient
clearance for persons who use wheelchairs;

Insufficient clear floor space within bathrooms in individual units for
maneuvering by persons who use wheelchairs;

Inaccessible locations of electrical outlets and radiator controls in individual
units for persons who use wheelchairs;

Lack of clearance at the entrance and excessively high counter at the laundry
valet office;

Excessively high thresholds at entrances to trash rooms;

Excessively high threshold and lack of raised-letter signage at the children’s
play room;

Excessive running slope of ramp leading to the third floor terrace and
excessively high threshold at the terrace door;

Lack of handrails for the ramp leading to the roof terrace and excessively

high threshold at the roof terrace door;
Case 1:14-cv-01826-ALC Document 2 Filed 03/17/14 Page 6 of 13

p- Excessively high thresholds and inaccessible configuration of the shower
compartments in the fitness center locker room; and
q. Steps along the route to the tenants’ storage area.
18. In light of some and/or all of the inaccessible conditions identified in paragraph 17

above, Related and Levya Architects failed to comply with applicable local accessible design and

construction provisions, including New York City Local Law 58, in designing and constructing

One Carnegie Hill.

Inaccessible Features of Tribeca Green

19. Related, the Tribeca Owners, and Stern Architects participated in the design and

construction of Tribeca Green, which is inaccessible to persons with disabilities.

20. For instance, Tribeca Green was constructed with scores of inaccessible conditions,

including, but not limited to, the following:

a.

Counter at main lobby desk that is too high to accommodate persons who
use wheelchairs;

Sink in the lobby unisex bathroom is too close to the sidewall and the paper
towel dispenser and soap dispenser in that bathroom are too high to
accommodate persons who use wheelchairs;

Mailboxes mounted too high to accommodate persons who use wheelchairs;
Excessively high thresholds at entrances to individual units and at bathroom,
kitchen, and terrace entrances within individual units;

Insufficient clear opening width of bedroom, bathroom, terrace, and closet

doors in individual units;
Case 1:14-cv-01826-ALC Document 2 Filed 03/17/14 Page 7 of 13

k.

Kitchens in individual units lack sufficient width to accommodate persons
who use wheelchairs;

Kitchen sinks and refrigerators in individual units lack sufficient clearance
for persons who use wheelchairs;

Insufficient clear floor space within bathrooms in individual units for
maneuvering by persons who use wheelchairs;

Rear grab bar location behind toilets in individual unit bathrooms obstructed
by countertops;

Light switches, thermostats, and kitchen electrical outlets in individual units
inaccessible to persons who use wheelchairs;

Trash rooms lack sufficient clearance and appropriate hardware to
accommodate persons who use wheelchairs;

The washing machines in the laundry rooms mounted on curbs

interfering with access by individuals who use wheelchairs;

The sinks in the laundry rooms lack sufficient clearance for persons

who use wheelchairs;

The sink in the children’s play room is inaccessible to persons who use
wheelchairs;

The entrance doors to the fitness center and the entertainment lounge

lack sufficient clearance for persons who use wheelchairs;

Room identification signs for common areas lack raised-letter

Braille for persons with visual impairments; and
Case 1:14-cv-01826-ALC Document 2 Filed 03/17/14 Page 8 of 13

q. Common area door require excessive force for persons with certain
disabilities.
21; In light of some and/or all of the inaccessible conditions identified in paragraph

20 above, Related, the Tribeca Owners, and Stern Architects failed to comply with applicable
local design and construction provisions, including New York City Local Law 58, in designing
and constructing Tribeca Green.

Related’s Additional Properties and Ongoing Constructions

22. The widespread inaccessible conditions at both One Carnegie Hill and Tribeca
Green — two properties designed and constructed by Related — reflect a pattern or practice on
Related’s part of failing to comply with the FHA’s accessibility requirements in designing and
constructing multi-family dwellings covered by the FHA, and a failure to comply with the
ADA Standards with regard to those portions of the building covered by the ADA.

23. Related has designed and constructed twenty or more other multi-family
dwellings in at least four states, including, but not limited to, The Strathmore, The Ventura on
the Upper East Side in Manhattan, The Lyric at 255 West 94" Street on the Upper West Side in
Manhattan, The Caledonia and The Westminster (designed by Stern Architects) in Chelsea,
and The MiMA and 1 MiMa Tower in midtown Manhattan. Related’s pattern or practice of
failing to design and construct dwellings and associated places of public accommodation in
compliance with the FHA and the ADA, as alleged herein, may extend to these other
multi-family dwellings and, absent injunctive relief, to other multi-family dwellings that are
currently in the process of being designed and constructed, including, but not limited to, the

rental complexes at 500 West 30" Street and 15 Hudson Yards.
 

Case 1:14-cv-01826-ALC Document 2 Filed 03/17/14 Page 9 of13

Fair Housing Act Claims
24. The United States re-alleges and incorporates by reference the allegations set
-forth in paragraphs 1-23 above.
25. - Defendants violated 42 U.S.C. § 3604(f)(3)(C), and 24 C.F.R. § 100.205(c), by
failing to design and construct covered multi-family dwellings in such a manner that:

a. the public use and common use portions of the dwellings are readily
accessible to and usable by persons with disabilities;

b. all doors designed to allow passage into and within the dwellings are
sufficiently wide to allow passage by persons who use wheelchairs for
mobility; and

c. all premises within such dwellings contain the following features of

_ adaptive design:

i) an accessible route into and through the dwelling;

ii) light switches, electrical outlets, thermostats, and/or other
environmental controls in accessible locations; and

ili) usable kitchens and bathrooms, such that an individual using a
wheelchair can maneuver about the space.

26. Defendants, through the actions and conduct referred to in the preceding
paragraph, have:

a. Discriminated in the sale or rental of, or otherwise made unavailable or

denied, dwellings to buyers or renters because of a disability, in

violation of 42 U.S.C. § 3604(f)(1) and 24 C.F.R. § 100.202(a);
Case. 1:14-cv-01826-ALC Document 2 Filed 03/17/14 Page 10 of 13

b. Discriminated against persons in the terms, conditions, or privileges of
the sale or rental of a dwelling, or in the provision of services or
facilities in connection with a dwelling, because of a disability, in
violation of 42 U.S.C. § 3604(f)(2) and 24 C.F.R. § 100.202(b); and

c. Failed to design and construct dwellings in compliance with the
accessibility and adaptability features mandated by 42 U.S.C.

§ 3604(f)(3)(C), and 24 C.F.R. § 100.205.

Zi « The conduct of Defendants described above constitutes:

a. A pattern or practice of resistance to the full enjoyment of rights granted
by the Fair Housing Act, 42 U.S.C. §§ 3601-3619; and/or

B. A denial to a group of persons of rights granted by the Fair Housing Act,
42 U.S.C. §§ 3601-3619, which denial raises an issue of general public
importance.

28. Persons who may have been the victims of Defendants’ discriminatory housing
practices are aperieved persons under 42 U.S.C. § 3602(i), and may have suffered injuries as a
result of Defendants’ conduct described above.

29. Defendants’ discriminatory actions and conduct described above were
intentional, willful, and taken in disregard for the rights of others.

ADA Claims

30. | The United States re-alleges and incorporates by reference the allegations set

forth in paragraphs 1-23 above.
aie Defendants violated Title III of the ADA by designing and constructing places

of public accommodation, including the leasing offices and lobbies in multi-family dwellings,

10
Case 1:14-cv-01826-ALC Document 2 Filed 03/17/14 Page 11 of 13

without ensuring that these places of public accommodation were readily accessible to persons
with disabilities to the maximum extent feasible. See 42 U.S.C. § 12183(a)(2).
Prayer for Relief

WHEREFORE, the United States prays that the Court enter an order that:

32. Declares that the policies and practices of Defendants, as alleged herein, violate
the Fair Housing Act;

33, Declares that Defendants have violated Title III of the ADA;

34. Enjoins Related from designing and/or constructing its current multi-family .
dwelling projects, including the rental apartment complexes at 500 West 30" Street and 15
Hudson Yards, and associated places of public accommodation in a manner such that they fail
to comply with requirements of the FHA and the ADA;

35, Enjoins Defendants, their officers, employees, agents, successors, and all other
persons in active concert or participation with any of them, from:

a. Failing or refusing to bring the dwelling units, public use and common
use areas, and places of public accommodation and commercial
facilities at covered multi-family dwellings that Defendants have
designed, developed, and constructed into compliance with the FHA
and the ADA;

b. Failing or refusing to take such affirmative steps as may be necessary to
restore, as nearly as practicable, persons harmed by Defendants’
unlawful practices to the position they would have been in but for the

discriminatory conduct;

11
Case 1:14-cv-01826-ALC Document 2 Filed 03/17/14 Page 12 of 13

C. Designing and/or constructing any covered multi-family dwellings and
associated places of public accommodation in the future that do not
comply with requirements of the FHA and the ADA;

d. - Failing or refusing to conduct a compliance survey at covered
multi-family housing complexes and associated places of public
accommodation that Defendants have designed, developed, and
constructed to determine whether the retrofits ordered in paragraph
35(a) were made properly;

36, Awards appropriate monetary damages, pursuant to 42 U.S.C. § 3614(c)(1) and
§ 3614(d)(1)(B), to each person harmed by Defendants’ discriminatory conduct and practices;
37. Assesses a civil penalty against each Defendant in the maximum amount

authorized by 42 U.S.C. § 3614(d)(1)(C) to vindicate the public interest; and

12
Case 1:14-cv-01826-ALC Document 2 Filed 03/17/14 Page 13 of 13

38. Assesses a civil penalty against each Defendant in the amount authorized by 42
U.S.C. § I2188(by2Z\(C); 28 CER. § 36.504(a)(3), to vindicate the public interest.

The United States further prays for such additional reliefas the interests of justice may
require,

ERIC H. HOLDER, JR.
Attorney General of the United States

Ag Qe Os, wo ee ares Qy
JOCELYN SAMIVELS

Acting Agsistant Attorney General

Civil Rights Division

Date: New York, New York
March! 7, 2014. PREET BHARARA
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